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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                    Case No. 04-80370

v.
                                                            Hon. John Corbett O’Meara
D-1    ALI ABDUL KARIM FARHAT, et al.,

            Defendants.
______________________________________/




                                            ORDER

       The government filed a Notice of Revised Election for Separate Trials on April 4, 2006.

Defendants may submit responses or objections to the government’s notice, to the extent such

arguments are not already contained in their motions for severance, by April 20, 2006.

       SO ORDERED.



                             s/John Corbett O’Meara
                             John Corbett O’Meara
                             United States District Judge


Dated: April 7, 2006
